                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              GREEN BAY DIVISION

KELLEY STARK,
                                                      Case No. 1:18-cv-01068-WCG
Plaintiff,
                                                      Honorable Judge William C. Griesbach
        v.

DIVERSIFIED CONSULTANTS, INC..,

Defendant.


                                     NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE KELLEY STARK (“Plaintiff”) hereby notifies the Court that

the Plaintiff and Defendant have settled all claims between them in this matter and are in the

process of completing the final closing documents and filing the dismissal. The Parties anticipate

this process to take no more than 60 days and request that the Court retain jurisdiction for any

matters related to completing and/or enforcing the settlement. The Parties propose to file a

stipulated dismissal with prejudice with 60 days of submission of this Notice of Settlement and

pray the Court to stay all proceedings until that time.

Respectfully submitted this 5th day of December 2018.



                                                               s/ Nathan C. Volheim
                                                               Nathan C. Volheim, #6302103
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                                                               Lombard, IL 60148
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                                                  1

        Case 1:18-cv-01068-WCG           Filed 12/05/18       Page 1 of 2    Document 16
                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of

record.


                                                              s/ Nathan C. Volheim
                                                              Nathan C. Volheim




                                                  2

          Case 1:18-cv-01068-WCG          Filed 12/05/18     Page 2 of 2      Document 16
